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11                                 UNITED STATES DISTRICT COURT
12                                        DISTRICT OF NEVADA
13 UNITED STATES OF AMERICA,                         )
                                                     )
14                 Plaintiff,                        )
                                                     )
15          v.                                       ) 2:13-CR-149-KJD-(CWH)
                                                     )
16 RODRIGUEZ MADDEN,                                 )
                                                     )
17                 Defendant.                        )
18        MOTION TO STRIKE THE PRELMINARY ORDER OF FORFEITURE (ECF NO. 85)
                 FROM THE JUDGMENT IN A CRIMINAL CASE (ECF NO. 138)
19                    WITH RESPECT TO RODRIGUEZ MADDEN ONLY
20          The United States of America (“United States”), by and through Daniel G. Bogden, United States

21 Attorney for the District of Nevada, and Michael A. Humphreys, Assistant United States Attorney,

22 respectfully moves this Court to strike the Preliminary Order of Forfeiture (ECF NO. 85) from the

23 Judgment in a Criminal Case (ECF No. 138) entered on September 11, 2014.

24          This Government motion to strike the Preliminary Order of Forfeiture from the Judgment in a

25 Criminal Case pertains to Rodriguez Madden ONLY and has no legal bearing or effect on co-

26 defendants Derrick Young and Thomas Lewis.
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 1        This motion is made and is based on the pleadings and papers on file herein and the attached

 2 Memorandum of Points and Authorities.

 3        DATED this 22nd day of September, 2014.

 4                                                      Respectfully submitted,

 5                                                      DANIEL G. BOGDEN
                                                        United States Attorney
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                                                         /s/Michael A. Humphreys
 7                                                      MICHAEL A. HUMPHREYS
                                                        Assistant United States Attorney
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2 I. STATEMENT OF THE FACTS

 3         On September 11, 2014, the Court entered a Judgment in Criminal Case (ECF No. 138) with the

 4 Preliminary Order of Forfeiture (ECF No. 85) attached.

 5 II. ARGUMENT

 6         After an internal review by the United States Attorney’s Office, it was determined that forfeiture,

 7 as to Rodriguez Madden ONLY, is no longer appropriate in this case.

 8         This Government motion to strike the Preliminary Order of Forfeiture from the Judgment in a

 9 Criminal Case pertains to Rodriguez Madden ONLY and has no legal bearing or effect on co-defendants

10 Derrick Young and Thomas Lewis.

11 III. CONCLUSION

12          Based on the foregoing, this Court should strike the Preliminary Order of Forfeiture (ECF

13 No. 85) from the Judgment in a Criminal Case (ECF No. 138) entered on September 11, 2014.

14         DATED this 22nd day of September, 2014.

15                                                        Respectfully submitted,

16                                                        DANIEL G. BOGDEN
                                                          United States Attorney
17
                                                           /s/Michael A. Humphreys
18                                                        MICHAEL A. HUMPHREYS
                                                          Assistant United States Attorney
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21                                                        IT IS SO ORDERED:

22
                                                                              Sept 23, 2014
                                                          ____________________________________
23                                                        UNITED STATES DISTRICT JUDGE
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